                                                                       1 NEIL M. POPOWITZ, ESQ. (Cal. Bar No. 140634)
                                                                         RELAW, APC
                                                                       2 2535 Townsgate Road, Suite 207
                                                                         Westlake Village, CA 91361
                                                                       3 (805) 265-1031 (Telephone)
                                                                         (805) 265-1032 (Facsimile)
                                                                       4 neil@relawapc.com (Email)

                                                                       5 Attorneys for Finest City Escrow

                                                                       6                              UNITED STATES DISTRICT COURT
                                                                       7                            SOUTHERN DISTRICT OF CALIFORNIA
                                                                       8   IN RE RETURN OF FUNDS SEIZED IN                  Case No. '23CV0646 AGS MSB
                                                                           SEIZURE NO 3780230004, SEIZURE NO                Hon.
                                                                       9   3780230005, SEIZURE NO 3780230006,
                                                                           SEIZURE NO 3780230007, AND                       DECLARATION   OF   NEIL M.
        2535 Townsgate Road, Suite 207 • Westlake Village, CA 91361
        (805) 265-1031 (Telephone)  jennifer@relawapc.com (Email)




                                                                      10                                                    POPOWITZ   IN  SUPPORT  OF
                                                                           SEIZURE NO 3780230010
                                                                                                                            MOTION   FOR   RETURN   OF
                                                                      11
                                                                                                                            PROPERTY PURSUANT TO FRCP
                                                                      12                                                    41(G)
RELAW, APC




                                                                      13                                                    Date:
                                                                                                                            Time:
                                                                      14

                                                                      15

                                                                      16                           DECLARATION OF NEIL M. POPOWITZ
                                                                      17 I, Neil M. Popowitz, declare as follows:

                                                                      18 1.       I am an attorney at law duly licensed to practice in California and a member of the U.S.
                                                                      19 District Court for the Southern District of California bar. I am the Supervising Attorney of the

                                                                      20 law firm RELAW, APC, a California Corporation. I make this declaration in support of Finest

                                                                      21 City Escrow, Inc.’s Motion for Return of Property Pursuant to FRCP 41(g). I have personal

                                                                      22 knowledge of the facts set forth in this declaration and if called upon to testify, I could and would

                                                                      23 competently do so. The matters stated herein are of my own personal knowledge, and if called as

                                                                      24 a witness, I could competently testify as to the matters stated herein, except for those matters

                                                                      25 stated on information and believe, and as to those matters, I believe them to be true.

                                                                      26 2.       On or about March 21, 2023, a copy of the redacted claim of Mr. Elah Abbas through his
                                                                      27 attorney Amir Makled was provided to my office by the U.S. Attorney’s office.

                                                                      28 3.       Upon information and belief, a true and correct photocopy of the redacted claim of Mr.
                                                                                                                      -1-
                                                                                                          DECLARATION OF NEIL POPOWITZ
                                                                       1 Elah Abbas through his attorney Amir Makled is attached hereto as Exhibit “H”.

                                                                       2         I declare under penalty of perjury under the laws of the United States that the foregoing is

                                                                       3 true and correct.

                                                                       4 April 6, 2023, in Westlake Village, California.

                                                                       5
                                                                                                                       By: _____________________________
                                                                       6                                                      Neil M. Popowitz
                                                                       7

                                                                       8

                                                                       9
        2535 Townsgate Road, Suite 207 • Westlake Village, CA 91361
        (805) 265-1031 (Telephone)  jennifer@relawapc.com (Email)




                                                                      10

                                                                      11

                                                                      12
RELAW, APC




                                                                      13

                                                                      14

                                                                      15

                                                                      16

                                                                      17

                                                                      18

                                                                      19

                                                                      20

                                                                      21

                                                                      22

                                                                      23

                                                                      24

                                                                      25

                                                                      26

                                                                      27

                                                                      28

                                                                                                                     -2-
                                                                                                         DECLARATION OF NEIL POPOWITZ
EXHIBIT "H"
